Case 16-30503-sgj7         Doc 678     Filed 07/25/22 Entered 07/25/22 16:06:23            Desc Main
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 James W. Cunningham
 Jim Cunningham & Associates, Inc.
 6412 Sondra Drive
 Dallas Texas 75214-3451
 (214) 827-9112

 Trustee

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 IN RE:                                            §
                                                   §
 BAILEY TOOL & MANUFACTURING CO.                   §                   CASE NO. 16-30503-BJH-7
                                                   §
   DEBTOR                                          §


                                     TRUSTEE INTERIM REPORT


           The U.S. Trustee relayed by email a request from the Court that an interim status report

 be filed in the above case. Now comes James W. Cunningham, chapter 7 trustee for the above

 estate, and files this interim status report.




                                                        RESPECTFULLY SUBMITTED,


                                                          /s/ James W. Cunningham
                                                        Chapter 7 Bankruptcy Trustee




 TRUSTEE INTERIM REPORT
             Case 16-30503-sgj7                     Doc 678       Filed 07/25/22 Entered 07/25/22 16:06:23                                              Desc Main
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                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                           Page:      1
                                                                   ASSET CASES
Case No:            16-30503         SGJ   Judge: Stacey G. Jernigan                                      Trustee Name: James W. Cunningham, Trustee
Case Name:          BAILEY TOOL & MANUFACTURING COMPANY                                                   Date Filed (f) or Converted (c):      01/26/17 (c)
                                                                                                          341(a) Meeting Date:                  03/07/17
 For Period Ending: 06/30/22
                                                                                                          Claims Bar Date:                      06/06/17


                                 1                                         2                         3                  4               5                            6
                                                                                            Estimated Net Value
                                                                                             (Value Determined       Property                                   Asset Fully
                                                                        Petition/             by Trustee, Less       Formally       Sale/Funds              Administered (FA)/
                         Asset Description                             Unscheduled           Liens, Exemptions,     Abandoned       Received by          Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)                   Values               and Other Costs)      OA=554(a)        the Estate                   Assets

 1. Bank Account                                                            11,172.08                    1,417.86                            1,417.86               FA
 2. Prepaid Insurance                                                        7,755.32                        0.00                                0.00               FA
    - See # 17 - sold per 4/28/17 Order
 3. Accounts Receivable                                                    448,926.33                 94,983.98                         94,983.98                   FA
    - Partial turnover from RBC per 6/26/20 Order
    - Valuation subject to recovery in Adversary 16-3025 v Rep
    Bus Credit. See item 14.
 4. Inventory                                                              619,243.12                        0.00                                0.00               FA
    - See # 17 - sold per 4/28/17 Order
 5. Office Furniture & Equipment                                            18,500.00                        0.00                                0.00               FA
    - See # 17 - sold per 4/28/17 Order
 6. Chev 2500 PU                                                            29,000.00                        0.00                                0.00               FA
    - Ally Bank has lien
     - See # 17 - sold per 4/28/17 Order
 7. Machinery & Equipment                                                3,853,150.00                        0.00                                0.00               FA
    - See # 17 - sold per 4/28/17 Order
 8. 904-906 Mercury Avenue                                                 828,307.81               430,000.00                         430,000.00                   FA
    - Sold per 3/8/17 Order
 9. Other Intangibles / Intellectual Property                               Unknown                          0.00                                0.00               FA
    - See # 17 - sold per 4/28/17 Order
 10. Employee Loans                                                            2,427.52                      0.00                                0.00               FA
    - No net value
 11. R&D Tax Credits 2012-2014                                             425,000.00                        0.00                                0.00               FA
    - Used on tax returns
 12. Insurance Policies                                                     Unknown                          0.00                                0.00               FA
    - See # 17 - sold per 4/28/17 Order
 13. Claims Against Former CFOs                                                      0.00                    0.00                                0.00               FA
    - Determined no cause of action
 14. Claims Against Republic Business Cr                                    Unknown               5,000,000.00                       5,000,000.00                   FA
    - Adversary 16-3025. Judgment entered 12/23/2021 in favor
    of three debtors, Bailey Tool, Cafarelli Metals and Hunt
    Hinges for $16.9M + attorney fees + interest on 12/23/2021
    - Settled per 2/23/2022 Orders. $5M total allocated as
        $ 4,315,115.72 to BTM estate
        $ 109,839.07 to CM estate
        $ 575,045.21 to HH estate
    Trustee calculation based on allocation, not on total
 15. Money Held by Republic Bus Cr                                         450,000.00                        0.00                                0.00               FA
    - Adversary 16-3025. Judgment entered 12/23/2021 in favor
    of three debtors, Bailey Tool, Cafarelli Metals and Hunt
    Hinges for $16.9M + attorney fees + interest on 12/23/2021
    - Settled per 2/23/2022 Order. See above #15
 16. Refunds (u)                                                                     0.00             4,918.79                           6,825.79                   FA
 17. Sale of All Personal Property                                                   0.00           847,455.14                         847,455.14                   FA




PFORM1                                                                                                                                                                   Ver: 22.06b
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                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                  Page:      2
                                                                   ASSET CASES
Case No:            16-30503         SGJ   Judge: Stacey G. Jernigan                                 Trustee Name: James W. Cunningham, Trustee
Case Name:          BAILEY TOOL & MANUFACTURING COMPANY                                              Date Filed (f) or Converted (c):   01/26/17 (c)
                                                                                                     341(a) Meeting Date:               03/07/17
                                                                                                     Claims Bar Date:                   06/06/17


                                 1                                         2                     3                 4               5                        6
                                                                                        Estimated Net Value
                                                                                         (Value Determined     Property                                Asset Fully
                                                                        Petition/         by Trustee, Less     Formally        Sale/Funds          Administered (FA)/
                         Asset Description                             Unscheduled       Liens, Exemptions,   Abandoned        Received by      Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)                   Values           and Other Costs)    OA=554(a)         the Estate               Assets

    Sold per 4/28/2017 Court Order #423
    TCF Equip Sale per 7/24/2017 Order #443

                                                                                                                                               Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                      $6,693,482.18        $6,378,775.77                     $6,380,682.77                        $0.00
                                                                                                                                                 (Total Dollar Amount
                                                                                                                                                        in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 - Debtor did not file Chapter 7 Conversion Schedules per Local Rule 1019
   upon conversion to chapter 7

 - Related cases:

    Cafarelli Metals, Inc. Case #16-30507-sgj7
    Hunt Hinges, Inc. Case #16-30504-sgj7
    Bailey Shelter, LP Case #16-30509-mvl7 (closed)

 - Adversary #16-3025 Estate v Rep Bus Credit.
   Settled per 2/23/22 Order #631.
   Settlement order appealed by John Buttles at
   District Court Case 3:22-CV-00644-K.



 - Final fee apps being prepared

 - Final tax return being prepared

 Initial Projected Date of Final Report (TFR): 01/26/19                Current Projected Date of Final Report (TFR): 11/14/22




PFORM1                                                                                                                                                          Ver: 22.06b
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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:               16-30503 -SGJ                                                                   Trustee Name:                  James W. Cunningham, Trustee
  Case Name:             BAILEY TOOL & MANUFACTURING COMPANY                                             Bank Name:                     First National Bank - Vinita
                                                                                                         Account Number / CD #:         *******1781 General Checking Account
  Taxpayer ID No:        *******9873
  For Period Ending:     06/30/22                                                                        Blanket Bond (per case limit):
                                                                                                         Separate Bond (if applicable): $ 1,300,000.00



      1             2                                 3                                            4                                           5                   6                     7

 Transaction    Check or                                                                                                    Uniform                           Disbursements     Account / CD
    Date        Reference                Paid To / Received From                 Description Of Transaction               Trans. Code    Deposits ($)              ($)           Balance ($)
                                                                      BALANCE FORWARD                                                                                                            0.00
     02/27/17       1       Regions Bk #5503411807                    DIP Acct Turnover                                    1129-000                1,417.86                               1,417.86
     03/10/17       3       Wire Transfer - Sterling Com Credit       AR - Excessive Collections                           1121-000                6,614.77                               8,032.63
     03/17/17       16      City of Lancaster #1008                   False Alarm Reduction Program Refun                  1290-000                 100.00                                8,132.63
     03/18/17    001001     Paycom                                    Payroll Services per L.B.R. 2015-1                   2990-000                                    184.00             7,948.63
                            c/o Jamie Besabe                          Fed 941/StateTax Prep and Filing - Q1 2017
                            7501 W. Memorial Rd
                            Oklahoma City, OK 73142
     03/20/17       3       Wire Transfer - Sterling Com Credit       AR - Excessive Collections                           1121-000                3,906.00                              11,854.63
     03/29/17               Allegiance Title Co #216347               Mercury Sale per 3/8/17 Order                                            24,562.28                                 36,416.91
                    8       ALLEGIANCE TITLE CO #216347                   Memo Amount:                 430,000.00          1110-000
                                                                      Mercury Sale per 3/8/17 Order
                            COMERICA                                      Memo Amount:         (       300,000.00 )        4210-000
                                                                      Comerica Lien Pymnt
                            CITY OF DUNCANVILLE                           Memo Amount:         (          720.00 )         2420-000
                                                                      Water Bill Reimbursement
                            DALLAS COUNTY                                 Memo Amount:         (        3,803.69 )         4220-000
                                                                      2017 Dallas County Taxes
                            DALLAS COUNTY                                 Memo Amount:         (        66,817.47 )        4800-000
                                                                      Prior Yr Dallas County Taxes
                            CITY OF DUNCANVILLE                           Memo Amount:         (          427.04 )         4700-000
                                                                      Maintenance Liens
                            TEXAS WORKFORCE COMMISSION                    Memo Amount:         (        3,257.27 )         5800-000
                                                                      TWC Lien
                            SURVEY                                        Memo Amount:         (          974.25 )         2500-000
                                                                      Survey Reimbursement
                            ASHLEY D. ADAMS, PLLC                         Memo Amount:         (          800.00 )         2500-000
                                                                      Closing Fee & Atty Fee
                            ALLEGIANCE TITLE CO                           Memo Amount:         (          135.00 )         2500-000
                                                                      Tax Cert / Courier / Recording Fees
                            ALLEGIANCE TITLE CO                           Memo Amount:         (        2,703.00 )         2500-000
                                                                      Title Insurance
                            WESTERN STATES / MOTE & ASSOC.                Memo Amount:         (        25,800.00 )        3510-000
                                                                      RE Commisasions
     04/24/17    001002     Lancaster FARP                            Fire Alarm Pymt - Acct 115036                        2420-000                                    125.00            36,291.91
                            PO Box 206646                             Pymnt per L.B.R. 2015-1
                            Dallas, TX 75320-6646
     05/15/17    001003     City of Lancaster                         Acct 033-0050000-003                                 2420-000                                    200.00            36,091.91
                            PO Box 650427                             Pymnt per L.B.R. 2015-1
                            Dallas, TX 75265-0427
     05/18/17       17      Wire Transfer - DMS                       Equipment Sale per 4/28/17 Order                     1129-000           839,955.14                                876,047.05
     05/18/17    001004     Dallas County                             Equipment Sale per 4/28/17 Order                     4800-000                               418,909.97            457,137.08
                            c/o Beth Weller                           $265,774.59 - 99200334600423200
                            Linebarger Goggan Blair & Sampson, LLP    $142,337.21 - 99932280000042100
                            2777 N. Stemmons Freeway, Suite 1000       $10,795.17 - 99200334600423200.1
                            Dallas, TX 75207
     05/22/17    001005     Comerica Bank                             Equipment Sale per 4/28/17 Order                     4210-000                               320,000.00            137,137.08
                                                                      OBJECT - Balance Incorrect
     06/12/17               Transfer to Acct #*******1803             Transfer Fees to General Acct                        9999-000                                    600.49           136,536.59



PFORM2T4                                                                                                                                                                            Ver: 22.06b
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                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

    Case No:               16-30503 -SGJ                                                                  Trustee Name:                  James W. Cunningham, Trustee
    Case Name:             BAILEY TOOL & MANUFACTURING COMPANY                                            Bank Name:                     First National Bank - Vinita
                                                                                                          Account Number / CD #:         *******1781 General Checking Account
    Taxpayer ID No:        *******9873
    For Period Ending:     06/30/22                                                                       Blanket Bond (per case limit):
                                                                                                          Separate Bond (if applicable): $ 1,300,000.00



        1             2                                 3                                           4                                           5                    6                      7

 Transaction      Check or                                                                                                   Uniform                            Disbursements          Account / CD
    Date          Reference                  Paid To / Received From                 Description Of Transaction            Trans. Code    Deposits ($)               ($)                Balance ($)
       07/13/17               Transfer to Acct #*******1803                Transfer Fee to General Acct                     9999-000                                     184.39            136,352.20
       08/08/17       3       DMS South Bailey Tool LLC #1028              AR Collection Turnover - ZF Mexico               1121-000                1,461.63                               137,813.83
       08/08/17       3       DMS SOUTH BAILEY TOOL LLC #1025              AR Collection Turnover - ZF Mexico               1121-000                 880.00                                138,693.83
       08/08/17               Transfer to Acct #*******1803                Transfer Fee to General Acct                     9999-000                                     178.97            138,514.86
       08/09/17       16      US Treasury 403603775150                     Refund - 12/2016 F-940                           1290-000                   2.13                                138,516.99
       08/09/17       16      Employer Plan Svcs Inc #1529                 RX Rebates                                       1290-000                   0.60                                138,517.59
       09/04/17       17      DMS South Bailey #1050                       TCF Equip Sale per 7/24 Order                    1129-000                7,500.00                               146,017.59
       09/11/17               Transfer to Acct #*******1803                Transfer Fee to General Acct                     9999-000                                     180.61            145,836.98
*      10/03/17    001006     PayCom                                       Tax Prep and Filing Texas SUTA 2017              2990-004                                     143.02            145,693.96
                              c/o Jamie Besabe                             Services per L.B.R. 2015-1
                              7501 W. Memorial Rd
                              Oklahoma City, OK 73142
*      10/03/17    001007     PayCom                                       2017 W-2/W-3 Billing & Delivery                  2990-004                                     178.10            145,515.86
                              c/o Jamie Besabe                             Services per L.B.R. 2015-1
                              7501 W. Memorial Rd
                              Oklahoma City, OK 73142
       10/09/17               Transfer from Acct #*******1803              Transfer Fee to General Acct                     9999-000                 181.91                                145,697.77
       10/09/17               Transfer to Acct #*******1803                Transfer Fee to General Acct                     9999-000                                     363.82            145,333.95
*      07/03/18    001006     PayCom                                       Stop Payment Reversal                            2990-004                                     -143.02           145,476.97
                              c/o Jamie Besabe                             STOP PAY SUCCESSFUL
                              7501 W. Memorial Rd
                              Oklahoma City, OK 73142
*      07/03/18    001007     PayCom                                       Stop Payment Reversal                            2990-004                                     -178.10           145,655.07
                              c/o Jamie Besabe                             STOP PAY SUCCESSFUL
                              7501 W. Memorial Rd
                              Oklahoma City, OK 73142
       10/30/18       16      Independence Title #147791                   Option Fee re 904 Mercury                        1290-000                 100.00                                145,755.07
       12/04/18               Transfer to Acct #*******0046                Bank Funds Transfer                              9999-000                                145,755.07                      0.00




                                                            Account                   Balance Forward                        0.00
                                                                                   12 Deposits                         886,500.41                    9 Checks                             739,418.97
                                                            *******1781
                                                                                    0 Interest Postings                      0.00                    0 Adjustments Out                          0.00
         Memo Receipts:               430,000.00                                                                                                     6 Transfers Out                      147,263.35
     Memo Disbursements:              405,437.72                                        Subtotal                  $    886,500.41
                                                                                                                                                        Total                      $      886,682.32
     Memo Allocation Net:                24,562.28                                  0 Adjustments In                         0.00
                                                                                    1 Transfers In                        181.91

                                                                                        Total                     $    886,682.32




PFORM2T4                                                                                                                                                                                  Ver: 22.06b
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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-30503 -SGJ                                                                     Trustee Name:                    James W. Cunningham, Trustee
  Case Name:            BAILEY TOOL & MANUFACTURING COMPANY                                               Bank Name:                       First National Bank - Vinita
                                                                                                          Account Number / CD #:           *******1803 Ck - Adv 16-3025 - Trellberg
  Taxpayer ID No:       *******9873
  For Period Ending:    06/30/22                                                                          Blanket Bond (per case limit):
                                                                                                          Separate Bond (if applicable): $ 1,300,000.00



      1             2                                 3                                          4                                                5                   6                     7

 Transaction    Check or                                                                                                       Uniform                           Disbursements     Account / CD
    Date        Reference                 Paid To / Received From                   Description Of Transaction               Trans. Code    Deposits ($)              ($)           Balance ($)
                                                                          BALANCE FORWARD                                                                                                           0.00
     02/27/17       3       Franklin Skierski et al #2830                 Adv 16-3025 - Trelleborg AR                         1121-000            32,174.44                                32,174.44
     03/07/17               First National Bank - Vinita                  BANK SERVICE FEE                                    2600-000                                     10.00           32,164.44
     04/10/17               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                     44.76           32,119.68
     05/08/17               FIRST NATIONAL BANK - VINITA                  Bank Service Fee                                    2600-000                                     70.42           32,049.26
     06/07/17               FIRST NATIONAL BANK - VINITA                  Bank Service Fee                                    2600-000                                    475.28           31,573.98
     06/12/17               Transfer from Acct #*******1781               Transfer Fees to General Acct                       9999-000                 600.49                              32,174.47
     07/10/17               FIRST NATIONAL BANK - VINITA                  Bank Service Fee                                    2600-000                                    184.39           31,990.08
     07/13/17               Transfer from Acct #*******1781               Transfer Fee to General Acct                        9999-000                 184.39                              32,174.47
     08/08/17               Transfer from Acct #*******1781               Transfer Fee to General Acct                        9999-000                 178.97                              32,353.44
     08/08/17               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    178.97           32,174.47
     09/08/17               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    180.61           31,993.86
     09/11/17               Transfer from Acct #*******1781               Transfer Fee to General Acct                        9999-000                 180.61                              32,174.47
     10/09/17               Transfer from Acct #*******1781               Transfer Fee to General Acct                        9999-000                 363.82                              32,538.29
     10/09/17               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    181.91           32,356.38
     10/09/17               Transfer to Acct #*******1781                 Transfer Fee to General Acct                        9999-000                                    181.91           32,174.47
     11/07/17               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    188.82           31,985.65
     12/07/17               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    182.55           31,803.10
     01/09/18               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    188.43           31,614.67
     02/07/18               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    188.24           31,426.43
     03/08/18               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    169.84           31,256.59
     04/09/18               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    187.85           31,068.74
     05/08/18               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    181.62           30,887.12
     06/08/18               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    187.46           30,699.66
     07/12/18               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    181.23           30,518.43
     08/07/18               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    187.08           30,331.35
     09/10/18               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    186.87           30,144.48
     10/09/18               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    180.68           29,963.80
     11/09/18               First National Bank - Vinita                  Bank Service Fee                                    2600-000                                    186.48           29,777.32
     12/04/18               Transfer to Acct #*******0194                 Bank Funds Transfer                                 9999-000                                29,777.32                     0.00




                                                            Account                  Balance Forward                           0.00
                                                                                   1 Deposits                             32,174.44                    0 Checks                                 0.00
                                                           *******1803
                                                                                   0 Interest Postings                         0.00                   21 Adjustments Out                    3,723.49
       Memo Receipts:                      0.00                                                                                                        2 Transfers Out                     29,959.23
   Memo Disbursements:                     0.00                                       Subtotal                    $       32,174.44
                                                                                                                                                         Total                     $       33,682.72
   Memo Allocation Net:                    0.00                                    0 Adjustments In                            0.00
                                                                                   5 Transfers In                          1,508.28

                                                                                      Total                       $       33,682.72




PFORM2T4                                                                                                                                                                               Ver: 22.06b
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                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

    Case No:               16-30503 -SGJ                                                              Trustee Name:                  James W. Cunningham, Trustee
    Case Name:             BAILEY TOOL & MANUFACTURING COMPANY                                        Bank Name:                     Axos Bank
                                                                                                      Account Number / CD #:         *******0046 Checking Account
    Taxpayer ID No:        *******9873
    For Period Ending:     06/30/22                                                                   Blanket Bond (per case limit):
                                                                                                      Separate Bond (if applicable): $ 1,300,000.00



        1             2                                 3                                       4                                          5                   6                       7

 Transaction      Check or                                                                                               Uniform                          Disbursements       Account / CD
    Date          Reference                Paid To / Received From               Description Of Transaction            Trans. Code    Deposits ($)             ($)             Balance ($)
                                                                       BALANCE FORWARD                                                                                                         0.00
       12/04/18               Transfer from Acct #*******1781          Bank Funds Transfer                              9999-000          145,755.07                                  145,755.07
       12/20/18    003001     Sherman & Yaquinto, LLP                  Atty fees per 12/19/18 Order                     3210-000                               47,951.77               97,803.30
                              c/o Daniel J. Sherman
                              509 N. Montclair Avenue
                              Dallas, TX 75208
       05/21/19       16      Green Mt Energy Co #10314                Elect Deposit Refund                             1290-000               2,861.34                               100,664.64
       08/06/19       16      Computershare/KCC # 1491                 Marlin Business Refund                           1290-000                122.09                                100,786.73
       08/26/19       16      Green Mt Energy Co #10475                Elect Deposit Refund                             1290-000               1,732.63                               102,519.36
*      06/26/20               Republic Bus Credit #15005               AR Turnover                                      1121-003           49,947.17                                  152,466.53
*      06/26/20               Republic Bus Credit #15005               AR Turnover                                      1121-003          -49,947.17                                  102,519.36
                                                                       Incorrect amount
       06/26/20       3       Republic Bus Credit #15005               AR Turnover per 6/26/20 Order                    1121-000           49,947.14                                  152,466.50
       06/26/20               Transfer from Acct #*******0194          Bank Funds Transfer                              9999-000           29,777.32                                  182,243.82
       03/03/21               Axos Bank                                BANK SERVICE FEE                                 2600-000                                    181.74            182,062.08
       04/02/21               Axos Bank                                BANK SERVICE FEE                                 2600-000                                    201.03            181,861.05
       05/03/21               Axos Bank                                BANK SERVICE FEE                                 2600-000                                    194.32            181,666.73
       06/01/21               Axos Bank                                BANK SERVICE FEE                                 2600-000                                    200.59            181,466.14
       07/01/21               Axos Bank                                BANK SERVICE FEE                                 2600-000                                    193.90            181,272.24
       08/02/21               Axos Bank                                BANK SERVICE FEE                                 2600-000                                    200.14            181,072.10
       09/01/21               Axos Bank                                BANK SERVICE FEE                                 2600-000                                    199.93            180,872.17
       10/01/21               Axos Bank                                BANK SERVICE FEE                                 2600-000                                    193.26            180,678.91
       11/01/21               Axos Bank                                BANK SERVICE FEE                                 2600-000                                    199.49            180,479.42
       12/01/21               Axos Bank                                BANK SERVICE FEE                                 2600-000                                    192.84            180,286.58
       01/03/22               Axos Bank                                BANK SERVICE FEE                                 2600-000                                    199.06            180,087.52
       02/01/22               Axos Bank                                BANK SERVICE FEE                                 2600-000                                    198.85            179,888.67
       02/23/22    003002     CAFAELLI METALS, INC.                    Transfer Settlement Funds                        8500-000                              109,839.07               70,049.60
                                                                       per 2/23/22 Order #631
       02/24/22       14      Wire Transfer - Husch Blackwell IOLTA    RBC Settlement                                   1149-000        5,000,000.00                             5,070,049.60
       02/25/22    003003     Comerica Bank                            Claim Settlement                                 4210-000                              970,000.00         4,100,049.60
                              c/o Phillip Lamberson, Winstead PC       per 2/23/22 Order #631
                              500 Winstead Building
                              2728 N. Harwood Street
                              Dallas, TX 75201
       03/01/22               Axos Bank                                BANK SERVICE FEE                                 2600-000                                   1,046.33      4,099,003.27
       03/10/22    003004     George Adams and Co Ins Agcy, LLC        Ch. 7 Bond - Inv #7978                           2300-000                                   3,825.00      4,095,178.27
                              4501 Cartwright Road
                              Suite 402
                              Missouri City, TX 77459
       04/01/22               Axos Bank                                BANK SERVICE FEE                                 2600-000                                   2,208.22      4,092,970.05
       04/29/22    003005     PASSMAN & JONES, P.C.                    Atty Fee per 4/28/22 Order #676                  3210-600                              909,989.43         3,182,980.62
                              c/o Jerry C. Alexander
                              1201 Elm Street, Suite 2500
                              Dallas, Texas 75270-2599
       04/29/22    003006     PASSMAN & JONES, P.C.                    Atty Exp per 4/28/22 Order #676                  3220-610                               23,664.88         3,159,315.74
                              c/o Jerry C. Alexander
                              1201 Elm Street, Suite 2500
                              Dallas, Texas 75270-2599
       04/29/22    003007     SOMMERMAN, MCCAFFITY, QUESADA &          Atty Fee per 4/28/22 Order #676                  3210-600                              909,989.43         2,249,326.31


PFORM2T4                                                                                                                                                                          Ver: 22.06b
                  Case 16-30503-sgj7                       Doc 678        Filed 07/25/22 Entered 07/25/22 16:06:23                                                Desc Main
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                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

    Case No:               16-30503 -SGJ                                                                 Trustee Name:                   James W. Cunningham, Trustee
    Case Name:             BAILEY TOOL & MANUFACTURING COMPANY                                           Bank Name:                      Axos Bank
                                                                                                         Account Number / CD #:          *******0046 Checking Account
    Taxpayer ID No:        *******9873
    For Period Ending:     06/30/22                                                                      Blanket Bond (per case limit):
                                                                                                         Separate Bond (if applicable): $ 1,300,000.00



        1             2                                3                                           4                                           5                    6                       7

 Transaction      Check or                                                                                                   Uniform                           Disbursements           Account / CD
    Date          Reference                Paid To / Received From                  Description Of Transaction             Trans. Code    Deposits ($)              ($)                 Balance ($)
                              GEISLER
                              c/o Sean J. McCaffity
                              3811 Turtle Creek Blvd., Suite 1400
                              Dallas, Texas 75219
       04/29/22    003008     SOMMERMAN, MCCAFFITY, QUESADA &             Atty Exp per 4/28/22 Order #676                   3220-610                               464,504.73            1,784,821.58
                              GEISLER
                              c/o Sean J. McCaffity
                              3811 Turtle Creek Blvd., Suite 1400
                              Dallas, Texas 75219
*      05/02/22    003009     Hunt Hinges, Inc.                           Transfer Settlement Funds                         8500-003                               447,747.47            1,337,074.11
                                                                          per 2/23/22 Order #632
*      05/02/22    003009     Hunt Hinges, Inc.                           Transfer Settlement Funds                         8500-003                              -447,747.47            1,784,821.58
                                                                          Void - Incorrect Amount on Check
       05/02/22    003010     Hunt Hinges, Inc.                           Transfer Settlement Funds                         8500-000                               575,045.21            1,209,776.37
                                                                          per 2/23/22 Order #632
       05/02/22               Axos Bank                                   BANK SERVICE FEE                                  2600-000                                    2,136.99         1,207,639.38
       05/12/22       16      George Adams & Co Ins #13498                Refund - Non Compensable                          1290-000               1,907.00                              1,209,546.38
       06/01/22               Axos Bank                                   BANK SERVICE FEE                                  2600-000                                    1,437.49         1,208,108.89




                                                           Account                   Balance Forward                         0.00
                                                                                   8 Deposits                        5,056,570.20                  11 Checks                            4,014,809.52
                                                           *******0046
                                                                                   0 Interest Postings                       0.00                  16 Adjustments Out                       9,184.18
         Memo Receipts:                     0.00                                                                                                    0 Transfers Out                             0.00
     Memo Disbursements:                    0.00                                      Subtotal                   $   5,056,570.20
                                                                                                                                                       Total                       $    4,023,993.70
     Memo Allocation Net:                   0.00                                   0 Adjustments In                         0.00
                                                                                   2 Transfers In                     175,532.39

                                                                                      Total                      $   5,232,102.59




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                Case 16-30503-sgj7                        Doc 678        Filed 07/25/22 Entered 07/25/22 16:06:23                                                      Desc Main
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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              16-30503 -SGJ                                                                        Trustee Name:                    James W. Cunningham, Trustee
  Case Name:            BAILEY TOOL & MANUFACTURING COMPANY                                                  Bank Name:                       Axos Bank
                                                                                                             Account Number / CD #:           *******0194 Ck - Adv 16-3025 - Trellberg
  Taxpayer ID No:       *******9873
  For Period Ending:    06/30/22                                                                             Blanket Bond (per case limit):
                                                                                                             Separate Bond (if applicable): $ 1,300,000.00



      1             2                                 3                                             4                                                 5                  6                      7

 Transaction    Check or                                                                                                          Uniform                           Disbursements       Account / CD
    Date        Reference                Paid To / Received From                       Description Of Transaction               Trans. Code    Deposits ($)              ($)             Balance ($)
                                                                          BALANCE FORWARD                                                                                                               0.00
     12/04/18               Transfer from Acct #*******1803               Bank Funds Transfer                                    9999-000             29,777.32                                29,777.32
     06/26/20               Transfer to Acct #*******0046                 Bank Funds Transfer                                    9999-000                                29,777.32                      0.00




                                                          Account                        Balance Forward                          0.00
                                                                                       0 Deposits                                 0.00                    0 Checks                                  0.00
                                                          *******0194
                                                                                       0 Interest Postings                        0.00                    0 Adjustments Out                         0.00
       Memo Receipts:                    0.00                                                                                                             1 Transfers Out                      29,777.32
   Memo Disbursements:                   0.00                                            Subtotal                        $        0.00
                                                                                                                                                            Total                      $       29,777.32
   Memo Allocation Net:                  0.00                                          0 Adjustments In                           0.00
                                                                                       1 Transfers In                        29,777.32

                                                                                         Total                       $       29,777.32




Report Totals                                                              Balance Forward                           0.00
                                                                        21 Deposits                          5,975,245.05                20 Checks                            4,754,228.49
                                                                         0 Interest Postings                         0.00                37 Adjustments Out                      12,907.67
         Total Memo Receipts:           430,000.00
   Total Memo Disbursements:                                                                                                              9 Transfers Out                       206,999.90
                                        405,437.72
                                                                            Subtotal                    $    5,975,245.05
   Total Memo Allocation Net:                                                                                                                 Total                       $   4,974,136.06
                                          24,562.28
                                                                         0 Adjustments In                            0.00
                                                                         9 Transfers In                        206,999.90

                                                                            Total                       $    6,182,244.95                     Net Total Balance           $   1,208,108.89




PFORM2T4                                                                                                                                                                                     Ver: 22.06b
